AO 245B (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase



                                                               United States District Court
                                                      For The Western District of North Carolina

UNITED STATES OF AMERICA                                                             JUDGMENT IN A CRIMINAL CASE
                                                                             (For Offenses Committed On or After November 1, 1987)
       V.
                                                                             Case Number: DNCW 506CR000037-006
JAMES EDWARD COE
                                                                             USM Number: 20908-058

                                                                             Samuel Winthrop
                                                                             Defendant’s Attorney

THE DEFENDANT:

X      pleaded guilty to count(s) 1 and 5 of the fifth superseding bill of indictment.
       Pleaded nolo contendere to count(s) which was accepted by the court.
       W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                 Date Offense
 Title and Section                   Nature of Offense                                           Concluded                   Counts

 21:846 & 841(b)(1)(A)               Conspiracy to possess with intent to distribute             9/12/2006                   1sssss
                                     cocaine, cocaine base, methamphetamine and crystal
                                     methamphetamine, Schedule II controlled substances

 18:924(c)(1)                        Using and carrying a firearm during and in relation to a    7/18/2005                   5sssss
                                     drug trafficking crime



     The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

       The defendant has been found not guilty on count(s) .
X      Original, superseding, second superseding, third superseding, fourth superseding and sixth superseding bill of indictments are
       dismissed on the motion of the United States.

      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay monetary penalties, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                    Date of Imposition of Sentence: November 3, 2008




                                                                                    Date:           November 14, 2008




                      Case 5:06-cr-00037-KDB-DCK                         Document 378           Filed 11/14/08     Page 1 of 5
A O 245B (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase

Defendant: JAMES EDW ARD COE                                                                                               Judgment-Page 2 of 5
Case Number: DNCW 506CR000037-006

                                                                           IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of ONE
HUNDRED TW ENTY (120) MONTHS ON COUNT 1sssss AND SIXTY (60) MONTHS ON COUNT 5sssss, TO BE SERVED
CONSECUTIVELY FOR A TOTAL OF ONE HUNDRED EIGHTY (180) MONTHS IMPRISONMENT.




X     The Court makes the following recommendations to the Bureau of Prisons:
           That defendant be designated to a facility as close to his home in Mt. Airy, NC, as possible.
           That defendant be allowed to participate in any available substance abuse treatment programs while incarcerated and receive
           benefits of 18:3621(e)(2).
           That defendant be allowed to participate in the Offender Workforce Development Program while incarcerated.
           That defendant be allowed to participate in educational and vocational opportunities while incarcerated.
           That defendant support his dependents while incarcerated under the Inmate Financial Responsibility Program.

X     The defendant is remanded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

             At        On     .
             As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


             Before 2 pm on .
             As notified by the United States Marshal.
             As notified by the Probation or Pretrial Services Office.

                                                                               RETURN

I have executed this Judgment as follows:




        Defendant delivered on                                                To

At                                                              , with a certified copy of this Judgment.


                                                                                              United States Marshal

                                                                                      By
                                                                                              Deputy Marshal




                       Case 5:06-cr-00037-KDB-DCK                             Document 378             Filed 11/14/08   Page 2 of 5
A O 245B (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase



Defendant: JAMES EDW ARD COE                                                                                                                       Judgment-Page 3 of 5
Case Number: DNCW 506CR000037-006

                                                                       SUPERVISED RELEASE

    Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS ON EACH OF
COUNTS 1sssss AND 5sssss, ALL SUCH TERMS TO RUN CONCURRENTLY.

        The condition for mandatory drug testing is suspended based on the court’s determination that the defendant poses a low risk of
        future substance abuse.

                                                          STANDARD CONDITIONS OF SUPERVISION

        The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.      The defendant shall not com m it another federal, state, or local crim e.
2.      The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.      The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the term of
        supervised release on a schedule to be established by the court.
4.      The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.      The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.      The defendant shall not leave the W estern D istrict of North C arolina without the perm ission of the C ourt or probation officer.
7.      The defendant shall report in person to the probation officer as directed by the C ourt or probation officer and shall subm it a truthful and com plete written report
        within the first five days of each m onth.
8.      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
        custody of the B ureau of Prisons.
 9.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.     The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
        probation officer.
12.     The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other controlled
        substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.     The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such tim e as
        the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of release on
        probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of 18:3563(a)(5) or
        18:3583(d), respectively.
15.     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.     The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless granted
        perm ission to do so by the probation officer.
17.     The defendant shall subm it his person, residence, office or vehicle to a search, from tim e to tim e, conducted by any U .S. Probation Officer and such other law
        enforcem ent personnel as the probation officer m ay deem advisable, without a warrant; and failure to subm it to such a search m ay be grounds for revocation of
        probation or supervised release. The defendant shall warn other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to
        this condition.
18.     The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband observed by the
        probation officer.
19.     The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.     The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the C ourt.
21.     A s directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal history
        or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification requirem ent.
22.     If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
        circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.     If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic m onitoring or
        other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.     The defendant shall cooperate in the collection of DN A as directed by the probation officer.


ADDITIONAL CONDITIONS:




                       Case 5:06-cr-00037-KDB-DCK                                Document 378                   Filed 11/14/08                Page 3 of 5
A O 245B (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase



Defendant: JAMES EDW ARD COE                                                                                             Judgment-Page 4 of 5
Case Number: DNCW 506CR000037-006

                                                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                                 FINE                           RESTITUTION

                       $200.00                                               $0.00                               $0.00


        $100.00 ASSESSMENT FEE PER COUNT
                                                                                FINE


        The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before
the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments
may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X            The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

X            The interest requirement is waived.

             The interest requirement is modified as follows:


                                                                COURT APPOINTED COUNSEL FEES

             The defendant shall pay court appointed counsel fees.

             The defendant shall pay $                          towards court appointed fees.




                       Case 5:06-cr-00037-KDB-DCK                            Document 378       Filed 11/14/08     Page 4 of 5
A O 245B (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase


Defendant: JAMES EDW ARD COE                                                                                                Judgment-Page 5 of 5
Case Number: DNCW 506CR000037-006


                                                                   SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

        A     X           Lump sum payment of $ 200.00 due immediately, balance due

                          not later than        , or
                          in accordance                (C),     (D) below; or

        B                 Payment to begin immediately (may be combined with               (C),        (D) below); or

        C                 Payment in equal              (e.g. weekly, monthly, quarterly) installments of $             to commence
                          (e.g. 30 or 60 days) after the date of this judgment; or

        D                 Payment in equal              (e.g. weekly, monthly, quarterly) installments of $        to commence
                          (e.g. 30 or 60 days) after release from imprisonment to a term of supervision. In the event the entire amount of
                          criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. Probation
                          Officer shall pursue collection of the amount due, and may request the court to establish or modify a payment
                          schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court costs:
        The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments are to
be made to the United States District Court Clerk, 200 West Broad Street, Room 100, Statesville, NC 28677, except those payments
made through the Bureau of Prisons’ Inmate Financial Responsibility Program. All criminal monetary penalty payments are to be made
as directed by the court.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                       Case 5:06-cr-00037-KDB-DCK                           Document 378          Filed 11/14/08        Page 5 of 5
